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       Property Search                                  Brevard County Property Appraiser
                                                                         Dana Blickley, CFA



    è Account: 2722914




    Owners:
     Menize, Manuel; Menize, Ruth
    Mail Address:
     1949 Mckinley Ave Melbourne FL 32935
   Site Address:

     1949 Mc Kinley Ave Melbourne FL 32935
    Parcel ID:
     27-37-20-25-L-13
    Taxing District: (Lookup.aspx?table=millagecodes)
     53K0 - Melbourne
    Exemptions: (Lookup.aspx?table=exemptions)
     HEX1 - Homestead First




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     HEX2 - Homestead Additional
     SNCO - Senior - County
    Property Use: (Lookup.aspx?table=usecodes)
     0110 - Single Family Residence
    Total Acres:
     0.18
    Site Code: (Lookup.aspx?table=sitecodes)
     0001 - No Other Code Appl.
    Plat Book/Page:
     0012/0034
    Subdivision Name: (Subdivisions.aspx)
     Bowe Gardens Sec B
    Land Description:
     Bowe Gardens Sec B Lot 13 Blk L

    ȫ Values

     Category                          2018                    2017                 2016
     Market Value:                     $131,670                $113,930             $77,140

     Agricultural Land Value:          $0                      $0                   $0

     Assessed Value Non-School:        $116,320                $113,930             $56,720

     Assessed Value School:            $116,320                $113,930             $56,720

     Homestead Exemption:              $25,000                 $25,000              $25,000

     Additional Homestead:             $25,000                 $25,000              $6,720

     Other Exemptions:                 $50,000                 $50,000              $500

     Taxable Value Non-School:         $66,320                 $63,930              $24,500

     Taxable Value School:             $91,320                 $88,930              $31,220

    Ƅ Sales/Transfers

     Date          Price        Type                  Parcel        Deed                            
                                WD
                                                                    7783/0940
     12/19/2016    $148,000     (Lookup.aspx?         Improved
                                                                    (https://vaclmweb1.brevardclerk.u
                                table=deedTypes)

                                WD
                                                                    7631/0204
     05/19/2016    $73,000      (Lookup.aspx?         Improved
                                                                    (https://vaclmweb1.brevardclerk.u
                                table=deedTypes)

                                CT (Lookup.aspx?                    7554/2679
     02/24/2016    --                                 Improved                                      
                                table=deedTypes)                    (https://vaclmweb1.brevardclerk.u
                                                                                              


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     Date             Price   Type                Parcel       Deed
                              QC
                                                               5833/8934
     11/30/2007       --      (Lookup.aspx?       Improved
                                                               (https://vaclmweb1.brevardclerk.us/
                              table=deedTypes)

                              QC
                                                               1121/0241
     04/01/1970       --      (Lookup.aspx?       --
                                                               (https://vaclmweb1.brevardclerk.us/
                              table=deedTypes)
                                                                                             
    ƙ Buildings


     Ƙ Property Data Card #1

                                         BUILDING MATERIALS

     Description                                                                           Value
     Exterior Wall:                                                                        Stucco

     Frame:                                                                          Masnryconc

     Roof:                                                                        Asph/Asb Shngl

     Roof Structure:                                                                   Hip/Gable
                                          BUILDING DETAILS

     Description                                                                           Value
     Bldg. Use: (Lookup.aspx?table=usecodes)                        0110 - Single Family Residence

     Year Built:                                                                             1959

     Story Height:                                                                              8

     Floors:                                                                                    1

     Residential Units:                                                                         1

     Commercial Units:                                                                          0
                                         BUILDING SUB-AREAS

     Description                                                                   Square-Feet
     Base Area 1st                                                                          1,612

     Open Porch                                                                                 8

     Total Base Area                                                                        1,612

     Total Sub Area                                                                         1,620
                                       BUILDING EXTRA FEATURES

     Description                                                                            Units




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                                       BUILDING EXTRA FEATURES

     Description                                                                       Units
     Patio - Concrete                                                                    290

     Outbuilding                                                                         168




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